Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 1 of 12 PageID #: 6740




                      EXHIBIT F
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 2 of 12 PageID #: 6741
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 3 of 12 PageID #: 6742
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 4 of 12 PageID #: 6743
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 5 of 12 PageID #: 6744
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 6 of 12 PageID #: 6745
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 7 of 12 PageID #: 6746
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 8 of 12 PageID #: 6747
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 9 of 12 PageID #: 6748
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 10 of 12 PageID #: 6749
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 11 of 12 PageID #: 6750
Case 2:12-md-02327 Document 585-6 Filed 05/09/13 Page 12 of 12 PageID #: 6751
